        Case 4:20-cv-02078-MWB Document 35 Filed 11/10/20 Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                                  No. 4:20-CV-02078
PRESIDENT, INC., et al.,
                                                     (Judge Brann)
              Plaintiffs,

       v.

KATHY BOOCKVAR, et al.,

              Defendants.

                                      ORDER

      AND NOW, this 10th day of November 2020, IT IS HEREBY ORDERED

that, following a telephonic status conference call with counsel of record, the

schedule for briefing, argument, and hearing in this matter is set forth as follows:

      1.     Plaintiffs shall file their motion seeking injunctive relief by 5:00 p.m.

             Thursday, November 12, 2020.

      2.     Defendants shall file their motion(s) to dismiss by 5:00 p.m.

             Thursday, November 12, 2020.

      3.     Plaintiffs shall file their response to any motions to dismiss by 12:00

             p.m. Sunday, November 15, 2020.

      4.     Defendants shall file their reply to Plaintiffs’ response by 12:00 p.m.

             Monday, November 16, 2020.
 Case 4:20-cv-02078-MWB Document 35 Filed 11/10/20 Page 2 of 2




5.   The Court will hold oral argument on Tuesday, November 17, 2020

     at 1:30 p.m in Courtroom No. 1, Fourth Floor, United States

     Courthouse and Federal Building, Williamsport, PA 17701.

6.   This Court will hold an evidentiary hearing on Thursday, November

     19, 2020 at 10:00 a.m in Courtroom No. 1, Fourth Floor, United

     States Courthouse and Federal Building, Williamsport, PA 17701.

7.   All parties shall inform my Courtroom Deputy, Janel Rhinehart, of

     their intent to be present or absent from any hearings. She can be

     reached at 570-323-9772.


                                      BY THE COURT:


                                      s/ Matthew W. Brann
                                      Matthew W. Brann
                                      United States District Judge




                                -2-
